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                          UNITED STATES DISTRICT COURT
  9
                        SOUTHERN DISTRICT OF CALIFORNIA
 10
      FELIPE MAGALLON, individually and  )      Case No.: 3:16-cv-02971-JAH (BLM)
 11
                                         )
      on behalf of others similarly situated,
 12                                      )
                    Plaintiff,           )
 13
                                         )
 14          vs.                         )      JUDGMENT AND ORDER
                                         )      GRANTING PLAINTIFF’S
 15
                                         )      MOTION FOR FINAL APPROVAL
 16   VITAL RECOVERY SERVICES, LLC. )           OF CLASS ACTION SETTLEMENT
      and VITAL SOLUTIONS, INC.,         )      AND MOTION FOR ATTORNEY’S
 17
                                         )      FEES AND COSTS
 18                 Defendants.          )
                                         )
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                                         )
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                                         )
 22   __________________________________ )
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                                           ORDER
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  1                         ORDER GRANTING FINAL APPROVAL
  2            WHEREAS, on August 5, 2019 the Court preliminarily approved a class action
  3   settlement agreement (“Settlement Agreement”) between Plaintiff Felipe Magallon
  4   (“Plaintiff’) and Defendants Vital Recovery Services, LLC (“VRS”) and Vital
  5   Solutions, Inc. (“VSI”) (VRS and VSI are collectively referred to as “Defendants”)
  6   (Plaintiff and Defendants are hereinafter collectively referred to as “Parties”);
  7            WHEREAS, the Court approved the form of notice of settlement for mailing
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      to the class members;
  9
               WHEREAS, the Parties have informed the Court that notice of the settlement
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      was sent by first class United States mail, postage prepaid, to the members of the
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      class;
 12
               WHEREAS, the Parties received no objections from the class members, and
 13
      only two class members, Ms. Myrna Bagge and Mr. Earl Schmidt, Jr., opted out of
 14
      the class;
 15
               WHEREAS, the Parties, via counsel, appeared before this Court on August 5,
 16
      2019 at 2:30 p.m. in accordance with the Court’s Order Granting Preliminary
 17
      Approval, regarding Plaintiff’s Motion for Final Approval of Class Settlement and
 18
      Motion for Attorney’s Fees and Costs; and
 19
               WHEREAS, the Motions were unopposed and the Parties were represented by
 20
      their attorneys of record.
 21
               The COURT RULES AS FOLLOWS:
 22
               After considering the papers filed in support of Plaintiff’s Unopposed Motion
 23
      for Final Approval of Class Settlement and Unopposed Motion for an Award of
 24
      Attorney’s Fees and Costs and arguments of counsel, IT IS HEREBY ORDERED
 25
      that the Court GRANTS Plaintiff’s Unopposed Motion for Final Approval of Class
 26
      Settlement and Plaintiff’s Unopposed Motion for Attorneys' Fees and Costs.
 27
               The Court finds the settlement is fair, adequate, and reasonable for the class
 28
      members for the following reasons:
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                                               ORDER
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  1         •      the settlement was reached through arm’s-length bargaining (not through
  2   fraud or collusion);
  3         •      investigations and discovery were sufficient to allow Class Counsel and
  4   the Court to act intelligently;
  5         •      Class Counsel is experienced in similar litigation;
  6         •      there are no objectors to the settlement;
  7         •      the case was complex and there was a certain amount of risk involved
  8
      including potential appeals; and
  9
            •      the settlement amount represents a fair and reasonable settlement of the
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                   claims asserted in relationship to the potential risks of continuing to
 11
                   litigate the matter.
 12

 13
            The Court further finds that the requested attorneys’ fees, costs, and incentive
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      award for the class representative are reasonable. In particular, Class Counsel spent a
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      significant amount of time litigating and investigating this matter; novel and difficult
 16
      questions were presented in this case; skill was necessary to perform the legal services
 17
      properly; the customary fee charged in matters of this type were customary and
 18
      reasonable; the fees were contingent on the outcome; Class Counsel obtained a fair and
 19
      reasonable settlement; and Class Counsel is experienced in handling class actions.
 20
      Moreover, the costs are reasonable, as they represent court and filing fees, traveling
 21
      expenses, and deposition fees etc.       Finally, an incentive award for the class
 22
      representative is reasonable in this case because Plaintiff played a substantial role in
 23
      this litigation, spent a considerable amount of time assisting counsel in the case,
 24
      responded to written discovery, and attended the settlement conference.
 25
            Accordingly, the Court hereby awards Class Counsel attorneys’ fees and
 26
      Litigation Costs as follows: $46,000 for attorney’s fees and $3,000 for costs. The Court
 27
      also approves an incentive award to Plaintiff in the amount of $2,000.
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                                               -3-
                                              ORDER
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  1         IT IS FURTHER ORDERED:
  2         1.    The Parties and Claims Administrator shall comply with all aspects of the
  3   Settlement Agreement reached between the parties;
  4         2.    The “Settlement Class” is defined as: All individuals located in the State
  5   of California to whom VRS sent, within one year before the date of the complaint and
  6   in connection with the collection of a consumer debt, an initial written communication
  7   that is substantially similar or materially identical to VRS’s April 4, 2016 validation
  8
      notice which was not returned undelivered by the United States Postal Service. The
  9
      class settlement period is from December 7, 2015 to December 7, 2016.
 10
            3.    Defendants shall pay the authorized class members, Plaintiff, and Class
 11
      Counsel’s fees and costs according to this Order and in the manner specified in the
 12
      Parties’ Settlement Agreement with residual funds, if any, to the Legal Aid Society of
 13
      San Diego, Inc.
 14
            4.    The Court hereby enters final Judgment in this case in accordance with the
 15
      terms of the Settlement Agreement;
 16
            5.    This document shall constitute a Judgment;
 17
            6.    The Court retains jurisdiction over the interpretation, enforcement, and
 18
      implementation of the Settlement Agreement and of this Order and Judgment.
 19
            IT IS SO ORDERED.
 20

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 22   Dated: August 5, 2019
                                               Hon. John A. Houston
 23
                                               United States District Court Judge
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                                              -4-
                                             ORDER
